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                                                           COR CLEARING, LLC
                                                     7

                                                     8
                                                                                UNITED STATES DISTRICT COURT
                                                     9
                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                    10

                                                    11     COR CLEARING, LLC, a limited        ) Case No.
                                                           liability company,                  )
                       Los Angeles, CA 90071-1543
Winston & Strawn LLP




                                                    12                                         )
                          333 S. Grand Avenue




                                                                         Plaintiff,            ) COMPLAINT FOR DECLARATORY
                                                    13                                         ) AND INJUNCTIVE RELIEF
                                                                                               )
                                                    14           vs.                           )
                                                                                               )
                                                    15                                         )
                                                           ASHIRA CONSULTING, LLC., a          )
                                                    16     limited liability company; SHEIK    )
                                                           FIDROSH KHAN AKA ABIDA KHAN, )
                                                    17     an individual; and ALIA S. KHAN, an )
                                                           individual,                         )
                                                    18                                         )
                                                                         Defendants.           )
                                                    19                                         )
                                                                                               )
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                                                                                                                                COMPLAINT
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                                                     1                                            COMPLAINT
                                                     2           Plaintiff COR Clearing, LLC (“Plaintiff” or “COR Clearing”), by its attorneys,
                                                     3     for its Complaint against Defendants Ashira Consulting, LLC, Sheik Fidrosh Khan
                                                     4     a/k/a Abida Khan (“Abida Khan”), and Alia S. Khan (collectively “Defendants”),
                                                     5     alleges as follows:
                                                     6

                                                     7                                   NATURE OF THIS ACTION
                                                     8                  1.       Plaintiff is a national securities clearing firm that provides clearing
                                                     9     and administrative services to its customers. Plaintiff seeks declaratory relief and
                                                    10     preliminary and permanent injunctions to preclude Defendants from pursuing an
                                                    11     arbitration proceeding they have improperly filed against Plaintiff before the Financial
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                                                    12     Industry Regulatory Authority (“FINRA”) styled Ashira Consulting, LLC v. COR
                                                    13     Clearing, LLC, et al., FINRA Case No. 15-02385 (the “Arbitration”).
                                                    14                  2.       Defendants should be enjoined from pursuing the Arbitration as
                                                    15     there is no agreement to arbitrate between Plaintiff and any Defendants that applies to
                                                    16     the subject claims because (a) Defendants Abida Khan and Ashira Consulting, LLC
                                                    17     are not, and have never been, customers of Plaintiff; and (b) Defendant Alia S. Khan’s
                                                    18     investment directly in a third party entity is not connected to COR’s business
                                                    19     activities, and therefore Defendants have no basis to bring an arbitration proceeding
                                                    20     before FINRA against Plaintiff.
                                                    21

                                                    22                                              PARTIES
                                                    23                  3.       At all times alleged herein, Plaintiff COR Clearing, LLC is a
                                                    24     Delaware limited liability company, with its principal place of business in Omaha,
                                                    25     Nebraska. Plaintiff is a member of FINRA and a national clearing firm that does
                                                    26     business with independent brokers across the country, including California. At all
                                                    27

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                                                                                                                                            COMPLAINT
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                                                     1     times pertinent herein, Plaintiff also operated an equity trade execution desk that
                                                     2     transacted only unsolicited trade orders on behalf of clients.
                                                     3                   4.     Plaintiff is informed and believes that Defendant Sheik Fidrosh
                                                     4     Khan a/k/a Abida Khan is and was a resident of the County of Riverside, State of
                                                     5     California.
                                                     6                   5.     Plaintiff is informed and believes that Defendant Alia S. Khan is
                                                     7     and was a resident of the County of Riverside, State of California.
                                                     8                   6.     Plaintiff is informed and believes that Defendant Ashira
                                                     9     Consulting, LLC is a Nevada limited liability company that does business in
                                                    10     California, including the hiring of Defendants Abida Khan and Alia S. Khan.
                                                    11
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                                                    12                                          JURISDICTION
                                                    13                   7.     This Court has original subject matter jurisdiction of this action
                                                    14     pursuant to 28 U.S.C. § 1331 because this action arises under the Federal Arbitration
                                                    15     Act, 9 U.S.C. § 4.
                                                    16                   8.     Jurisdiction is also proper pursuant to 28 U.S.C. § 1332 because
                                                    17     Plaintiff and Defendants are citizens of different states and the amount in controversy
                                                    18     exceeds $75,000, exclusive of interests and costs. If forced to arbitrate claims that
                                                    19     Plaintiff did not agree to arbitrate before FINRA, Plaintiff will incur significant legal
                                                    20     fees and expenses in connection with defending itself against Defendants’ claims, who
                                                    21     seek to recover losses totaling almost $500,000.
                                                    22

                                                    23                                              VENUE
                                                    24                   9.     Venue is proper in this Court under 28 U.S.C. §§ 1391(a) and (c)
                                                    25     because a substantial part of the events and omissions giving rise to the claim occurred
                                                    26     in this district. Defendants brought the Arbitration in FINRA’s West Regional Office,
                                                    27     which is located in Los Angeles, California.
                                                    28                                                3
                                                                                                                                           COMPLAINT
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                                                     1                                  FACTUAL BACKGROUND
                                                     2                                         The Arbitration
                                                     3                  10.    On September 16, 2015, Defendants initiated the Arbitration with
                                                     4     FINRA against Plaintiff. A true and correct copy of the Statement of Claim initiating
                                                     5     the Arbitration is attached hereto as Exhibit A. A true and correct copy of the
                                                     6     submission agreement submitted by Defendants in connection with the Arbitration is
                                                     7     attached hereto as Exhibit B.1 COR Clearing was served with the Statement of Claim
                                                     8     on September 21, 2015. COR Clearing’s answer is due on November 10, 2015.
                                                     9                  11.    The Arbitration was initiated at, and is being administrated through
                                                    10     FINRA’s office in Los Angeles, California.
                                                    11                  12.    In the Statement of Claim, Defendants complain of investments
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                                                    12     they made with third party entities, VGTel, Inc. and New Market Enterprises, Inc.
                                                    13                  13.    Plaintiff is informed and believes that VGTel, Inc. and New
                                                    14     Market Enterprises, Inc. are affiliated with an individual, Edward Durante. Edward
                                                    15     Durante is described by the Securities Exchange Commission in 2001 as “a recidivist
                                                    16     securities law violator.” Plaintiff is informed and believes that Edward Durante
                                                    17     operates under an alias, Kenneth Wise and/or Ted Wise, because he is barred from the
                                                    18     securities industry and is thwarting the government’s efforts to collect restitution
                                                    19     relating to his prior conduct.
                                                    20                  14.    Defendants claim to have lost almost $500,000 from their
                                                    21     investments made through these third-party entities. Specifically, Ashira Consulting,
                                                    22     LLC entered into a promissory note and with VGTel Inc. while Alia S. Khan entered
                                                    23     into a stock purchase agreement with New Market Enterprises, Inc. for a private sale
                                                    24

                                                    25

                                                    26     1
                                                            The Statement of Claim only lists Ashira Consulting, LLC as a Claimant, but the
                                                    27     submission agreement also lists Abida Khan and Alia S. Khan as Claimants. (See
                                                           Exs. A-B)
                                                    28                                               4
                                                                                                                                         COMPLAINT
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                                                     1     of existing shares of VGTel, Inc. The Statement of Claim does not contain any
                                                     2     allegations that Abida Khan individually made any investments.
                                                     3                  15.      In the Arbitration, Defendants seek to hold COR Clearing
                                                     4     responsible for their alleged losses despite the fact that the Statement of Claim does
                                                     5     not contain any allegations connecting COR Clearing to their investments.
                                                     6     Representing themselves, they appear to allege that COR Clearing is responsible
                                                     7     based on the following theories: (a) failure to treat Defendants in a just and equitable
                                                     8     manner; (b) negligence, gross negligence, negligent representation and omission, and
                                                     9     negligent supervision; (c) violation of FINRA Rule 2310; (d) violation of NYSE Rule
                                                    10     405; (d) violation of FINRA Rule 3010 and NYSE Rule 342; (e) fraudulent
                                                    11     misrepresentation and omission; (f) breach of contract; and (g) violation of California
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                                                    12     (sic).
                                                    13                  16.      Defendants only brought this action after their efforts to recover
                                                    14     their investments from Edward Durante failed. However, Edward Durante was never
                                                    15     an employee of COR Clearing.
                                                    16                  17.      COR Clearing had nothing to do with Defendants’ investments in
                                                    17     these third parties entities. COR Clearing did not author the promissory notes or stock
                                                    18     purchase agreement. COR Clearing also did not hold any of the notes or facilitate any
                                                    19     transactions with the purchased stock. COR Clearing never had custody of the notes
                                                    20     or agreement and, as these were not trades, COR Clearing also did not “clear” any of
                                                    21     these transactions.
                                                    22                  18.      COR Clearing did not sign a written contract or customer
                                                    23     agreement with Defendants Abida Khan and Ashira Consulting, LLC. This is because
                                                    24     these two Defendants do not have, and have never had, accounts at COR Clearing,
                                                    25     LLC.
                                                    26

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                                                                                                                                          COMPLAINT
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                                                     1                      19.   While Alia S. Khan opened a self-directed trading account at COR
                                                     2     Clearing, there was never any trading activity associated with her account after it was
                                                     3     opened.
                                                     4                      20.   Defendants nevertheless claim that COR Clearing should somehow
                                                     5     be responsible for their losses because COR Clearing sometimes executed trades for
                                                     6     the third parties entities. However, COR Clearing simply provided the ministerial
                                                     7     services of executing unsolicited trades initiated by its customers completely unrelated
                                                     8     to these Defendants’ direct investments in VGTel stock through their contracts with
                                                     9     third parties.
                                                    10

                                                    11       COR Clearing Has No Agreement or Obligation to Arbitrate with Defendants
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                                                    12                      21.   Defendants Abida Khan and Ashira Consulting, LLC do not have
                                                    13     any contractual relationship with COR Clearing. Abida Khan and Ashira Consulting,
                                                    14     LLC do not have accounts with COR Clearing. COR Clearing never entered into any
                                                    15     agreement requiring that disputes between it and Abida Khan or Ashira Consulting,
                                                    16     LLC be arbitrated. Alia Khan’s claims are not subject to FINRA arbitration with
                                                    17     COR because she invested directly with two different companies, unrelated to her
                                                    18     account at COR Clearing that had no activity associated with it.
                                                    19                      22.   Defendants have no right to bring this Arbitration against COR
                                                    20     Clearing under the FINRA Arbitration Code, which requires FINRA members to only
                                                    21     arbitrate certain disputes. In the absence of a written arbitration agreement, FINRA
                                                    22     Rule 12200 only requires members to arbitrate claims if the arbitration is requested by
                                                    23     a “customer,” the dispute is “between a customer and a member or associated person
                                                    24     of a member,” and the “dispute arises in connection with the business activities of the
                                                    25     member of the associated period.” Defendants Abida Khan and Ashira Consulting,
                                                    26     LLC do not qualify as “customers” under FINRA Rule 12220 because they never had
                                                    27     accounts with Plaintiff. COR Clearing is also not required to arbitrate Defendant Alia
                                                    28                                                 6
                                                                                                                                         COMPLAINT
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                                                     1     S. Khan’s claims because her purchase of VGTel shares pursuant to a private stock
                                                     2     purchase agreement with New Market Enterprises, Inc. is unrelated to COR’s business
                                                     3     activities.
                                                     4

                                                     5                         First Claim for Relief – Declaratory Judgment
                                                     6                                 (By Plaintiff Against Defendants)
                                                     7                   23.     Plaintiff realleges and incorporates by reference the foregoing
                                                     8     paragraphs as though fully set forth herein.
                                                     9                   24.     No agreement to arbitrate exists between COR Clearing and any
                                                    10     Defendant.
                                                    11                   25.     Defendants seek arbitration based on Rule 12200 of the FINRA
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                                                    12     Code of Arbitration by submitting their dispute to FINRA’s Dispute Resolution
                                                    13     system. However, in the absence of an agreement to arbitrate, Rule 12200 only
                                                    14     requires arbitration if the arbitration is requested by a “customer,” the dispute is
                                                    15     “between a customer and a member or associated person of a member,” and the
                                                    16     “dispute arises in connection with the business activities of the member of the
                                                    17     associated period.”
                                                    18                   26.     Defendants Abida Khan and Ashira Consulting, LLC are not now
                                                    19     and have never been “customers” of COR Clearing.
                                                    20                   27.     Defendant Alia S. Khan’s investment complained of in the
                                                    21     Arbitration is not connected to the business activities of COR Clearing.
                                                    22                   28.     Accordingly, COR Clearing lacks any obligation to arbitrate any
                                                    23     claims brought by Defendants.
                                                    24                   29.     Declaratory relief is appropriate because the dispute between the
                                                    25     parties is definite and concrete, affecting the parties’ adverse legal interests with
                                                    26     immediacy.
                                                    27

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                                                                                                                                          COMPLAINT
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                                                     1                  30.    COR Clearing therefore, requests a declaratory judgment from this
                                                     2     Court that COR Clearing has no obligation to arbitrate Defendants’ claims pursuant to
                                                     3     Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. § 2201.
                                                     4

                                                     5                          Second Claim for Relief – Injunctive Relief
                                                     6                                (By Plaintiff Against Defendants)
                                                     7                  31.    Plaintiff realleges and incorporates by reference the foregoing
                                                     8     paragraphs as though fully set forth herein.
                                                     9                  32.     COR Clearing will suffer immediate and irreparable harm if it is
                                                    10     compelled to arbitrate claims that it did not agree to arbitrate.
                                                    11                  33.    COR Clearing has a likelihood of success on the merits. COR
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                                                    12     Clearing has no obligation to arbitrate with Defendants based on the claim asserted
                                                    13     against Plaintiff in the FINRA Arbitration. There is no applicable agreement to
                                                    14     arbitrate between COR Clearing and Defendants. Defendants Abida Khan and Ashira
                                                    15     Consulting, LLC are not “customers” of COR Clearing and the investments
                                                    16     complained of by Defendant Alia S. Khan is not connected to COR Clearing’s
                                                    17     business activities as required by FINRA Rule 12200.
                                                    18                  34.    COR Clearing has no adequate remedy at law.
                                                    19                  35.    COR Clearing is entitled to preliminary and permanent injunctive
                                                    20     relief enjoining Defendants from further proceedings against COR in the arbitration.
                                                    21

                                                    22                                     PRAYER FOR RELIEF
                                                    23           WHEREFORE, Plaintiff COR Clearing demands judgment as follows:
                                                    24           A.     Entry of a declaratory judgment that COR Clearing has no obligation to
                                                    25     arbitrate the claims asserted by Defendants in the FINRA Arbitration;
                                                    26           B.     Entry of orders preliminarily and permanently enjoining Defendants from
                                                    27     further proceedings against COR Clearing in the FINRA Arbitration; and
                                                    28                                                8
                                                                                                                                       COMPLAINT
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                                                     1           C.    Granting COR Clearing any other and further relief as the Court may
                                                     2     deem just and proper.
                                                     3
                                                                                               Respectfully submitted,
                                                     4

                                                     5
                                                                                               WINSTON & STRAWN LLP

                                                     6
                                                           Dated: November 6, 2015       By:   /s/ Gayle I. Jenkins
                                                     7
                                                                                               David L. Aronoff
                                                     8                                         Gayle I. Jenkins

                                                     9                                         Attorneys for Plaintiff COR Clearing, LLC
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                                                                                                                                   COMPLAINT
